Case 2:O4-CV-02177-SHI\/|-STA Document 53 Filed 07/29/05 Page 1 of 2 Page|D 83

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

SHELBY COUNTY HEALTH CARE
CORPORATION, d/b/a REGIONAL
MEDICAL CENTER,

Plaintiff,
v.

L.A. DARLING COMPANY,

Defendant.

J'UDGMENT

Cv.

NO.

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04-2177-Ma

Decision by Court. This action came for consideration before the
Court. The issues have been duly considered and a decision has been

rendered.

IT IS ORDERED .AND .ADJUDGED that this action
accordance with the Order of Dismissal With Prejudice,
2005. Each party shall bear its own costs and attorn

APPROVEW //41 l

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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TENNSSEE

   

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This notice confirms a copy of the document docketed as number 53 in
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Honorable Samuel Mays
US DISTRICT COURT

